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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE STERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION



VINCENTA NORRIS and CHARLES             §
    D. NORRIS (as Representative of the §
    Estate of Jimmy E. Norris),         §
                                        §
                    PLAINTIFFS          §
versus                                  §
                                        §           CIVIL ACTION NO. 2:21-cv-00476
                                        §
UNITED STATES PRECIOUS METALS,          §
   LLC, SPINDLETOP COINS, INC.,         §
   and NATHAN CAMP                      §
                                        §
                    DEFENDANTS          §


                          PLAINTIFFS’ ORIGINAL COMPLAINT


TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Plaintiffs Vinceta Norris and Charles D. Norris (as Personal Representative of the Estate

of Jimmy E. Norris) (“Norris” or “Plaintiff”) files this their Original Complaint complaining of

the actions of Defendants United States Precious Metals LLC, Spindletop Coins, Inc., and

Nathan Camp (together, “Defendants”), respectfully shows the following:

                                   NATURE OF THE CASE

1.     This action is brought under 18 U.S.C. §§ 1961-1968 (Racketeer Influenced and Organized

Crime Act and Texas common law by Vinceta Norris and Charles D. Norris (as Personal

Representative of the Estate of Jimmy E. Norris) (“Norris”) against Nathan Camp (RICO

Defendant) (“CAMP”) operating by and through United States Precious Metals LLC (“USPM”)

(RICO Enterprise) and Spindletop Coins, Inc., (“SCI”) (RICO Enterprise) (collectively “RICO-
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AIF Enterprises”), for their unlawful, false, misleading and unconscionable misrepresentations

and sales tactics, that resulted in direct damages to Plaintiffs Vinceta Norris and Charles D.

Norris (as Personal Representative of the Estate of Jimmy E. Norris) in the amount of

approximately One Hundred Two Thousand, Six Hundred Ninety-Five and 00/100 Dollars

($102,695.00) from the purchase of coins that are not worth the value at which they were

purchased and will never attain the value as claimed or return on investment as represented.

Norris seeks recovery of actual damages, consequential damages, punitive damages, statutory

treble damages, pre- and post-judgment interest, attorneys’ fees, litigation expenses and costs of

suit.

RICO DEFENDANT - NATHAN CAMP

2.      NATHAN CAMP (RICO Defendant) conducted and/or participated in concert with in the

business and financial affairs of the RICO Enterprises USPM and SCI and the RICO-AIF

Enterprises through a pattern of racketeering activity; to wit: CAMP participated, directly and

indirectly with others, and together they acted by and through various employees, representatives

and entities, to engage in repeated and systematic mail fraud and wire fraud in violation of 18

U.S.C. §§ 1341; 1343 that generated multiple and repeated fraudulent and unlawful coin sales to

NORRIS that, in turn, generated exorbitant compensation for the CAMP. CAMP caused USPM

(RICO Enterprise) and SCI (RICO Enterprise) to use the interstate mails and wires to repeatedly

make and/or send fraudulent coin solicitations, sales receipts and/or other purchase confirmations

to NORRIS.

3.      By his unlawful acts, CAMP (i) conducted and/or participated in the affairs of USPM and

SCI, each as a RICO Enterprise and collectively as the RICO-AIF Enterprises, (in violation of 18

U.S.C. § 1962(c)) and/or (ii) conspired to violate 18 U.S.C. § 1962(b) and(c) (in violation of 18
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U.S.C. §1962(d)), and defrauded the elderly Norris couple in the process.          Nathan Camp

committed these substantive RICO offenses by causing USPM (RICO Enterprise) and SCI

(RICO Enterprise) each and in concert with each other as RICO-AIF Enterprises, to engage in

multiple predicate acts of mail fraud and wire fraud—all the while knowing of, and agreeing to,

the overall objective of such fraud; to wit: generating exorbitant compensation for himself and

possibly others unknown at this time. Nathan Camp knew that making and/or sending fraudulent

solicitations, sales receipts and/or purchase confirmations to NORRIS was fraudulent,

misleading and unlawful. Nathan Camp knew such wrongful acts and practices would generate

multiple and repeated unlawful coin sales to NORRIS that, in turn, would generate exorbitant

compensation for himself. Nathan Camp engaged in the scheme to take unfair advantage of

NORRIS. Nathan Camp’s wrongful acts proximately and/or directly caused NORRIS to be

substantially overcharged for the coins.

                                 JURISDICTION AND VENUE

4.     This Court has subject matter jurisdiction over Vinceta Norris and Charles D. Norris (as

Personal Representative of the Estate of Jimmy E. Norris) claims pursuant to (i) 28 U.S.C. §

1332(a) because the matter in controversy exceeds $75,000, exclusive of interest and costs, and

the Parties are citizens of different states (diversity), and (ii) 28 U.S.C. § 1367 (supplemental

jurisdiction). This Court also has in personam jurisdiction over Defendants because at all

relevant times, Defendants resided, maintained citizenship, were found, had agents, conducted

business and/or sold the coins at issue in this case to NORRIS in and/or from the Eastern District

of Texas.

5.     Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C § 1391(a) because, at

all relevant times, Defendants resided, were found, had agents and/or conducted business in the
                                                 3
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Eastern District of Texas. Defendants sold the numismatic and bullion coins at issue in this case

to NORRIS in and/or from the Eastern District of Texas. A substantial part—if not all—of

Defendants’ wrongful acts and omissions occurred in the Eastern District of Texas. The

corporate defendants all maintain their principal place of business in the Eastern District of

Texas.

                                           PARTIES

6.     PLAINTIFFS VINCENTA NORRIS AND CHARLES D. NORRIS (AS PERSONAL

REPRESETATIVE OF THE ESTATE OF JIMMY E. NORRIS) (“NORRIS”) are citizens

and residents of Richmond, Missouri.

7.     DEFENDANT NATHAN CAMP (“Camp”) is a citizen and resident of Beaumont,

Jefferson County, Texas. He may be served at his last known residence at 6470 Clayborn Drive,

Beaumont, Texas 77706-7281 or at his normal place of business at either 990 I-10 North, Suite

102, Beaumont, Texas 77702 or 4220 Treadway, Beaumont, Texas 77706. Service is not

requested at this time, as waiver of service under Fed. R. Civ. Proc., Rule 4(d) is being

attempted.

8.     DEFENDANT UNITED STATES PRECIOUS METALS LLC, (USPM) is a private

corporation organized under the State of Texas with its principal place of business located in

Jefferson County, Texas. It can be served through its agent of service, Mr. Nathan Camp, at the

registered office at 990 I-10 North, Suite 102, Beaumont, Texas 77702 or 4220 Treadway,

Beaumont, Texas 77706. Service is not requested at this time. Service is not requested at this

time, as waiver of service under Fed. R. Civ. Proc., Rule 4(d) is being attempted.




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9.      DEFENDANT SPINDELTOP COINS, INC., (“SCI”) is a private corporation organized

under the State of Texas with its principal place of business located in Jefferson County, Texas.

It can be served through its agent of service, Mr. Nathan Camp, at the registered office at 990 I-

10 North, Suite 102, Beaumont, Texas 77702 or 4220 Treadway, Beaumont, Texas 77706.

Service is not requested at this time. Service is not requested at this time, as waiver of service

under Fed. R. Civ. Proc., Rule 4(d) is being attempted.

                                         FACTUAL BACKGROUND

10.     The Defendants operate a sales and telemarketing operation for the purpose of selling

collectible numismatic, semi-numismatic, and bullion coins 1 directly to consumers over the

telephone and via the internet. Defendants themselves and through various employees make

thousands of intrastate and interstate sales calls per month — via the telephone — and ship these

coins by the interstate mails and private interstate delivery services. Defendants, using various

unscrupulous techniques, “upsell” coins at inflated prices and continue their sham until the

customer runs out of money, tires of buying coins, or discovers the true value of the fraudulently

priced coins. This tactic has been condemned by the United States Senate, the Federal Trade

Commission, various States’ Attorneys General and States’ Security commissions. Precious

metal fraud investigation by the United States Senate Special Committee on Aging revealed that

the “overwhelming number of victims in precious metal fraud are seniors.” 2 The Senate Special

Committee also conservatively estimates that more than “10,000 Americans have been



1
    The term “numismatic” refers to collectible coins whose value is based upon qualities other than the metal content
    of the coin, such as appearance, population, grade, rarity, and other attributes. “Semi-numismatic” refers to coins
    whose value partially derives from their numismatic value and partially from the value of the precious metal
    content. Bullion coins derive their value almost entirely from the fair market value of the precious metal content.
2
    See Exploring the Perils of the Precious Metals Market, United States Senate Special Committee on Aging,
    Summary of Committee Staff Investigation,
    https://www.aging.senate.gov/download/precious-metals-market-committee-staff-investigation, at 16.
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victimized through these schemes, with losses around $300 million.” 3 These Defendants utilize

one or more of the following unlawful, false, misleading and unconscionable sales tactics:

           a) Misrepresenting attributes of graded bullion to move customers from bullion to the
              over-price coins;
           b) Misrepresenting qualities of the coins with promises that the investment in certified
              coins will substantially appreciate, all the while increasing the population of “certified
              coins” with sales to others;
           c) offering a short term “money back guarantee” which provides no real opportunity to
              investigate the true value of the coins;
           d) advising customers to purchase unique bullion coins, when the coins are not unique;
           e) misrepresenting to customers that “certified coins” will outperform other types of
              investments—without any specific underlying data supporting such assertions;
           f) Using grading and marketing to deceptively sell bullion as some type of “modern
              numismatics,” even though there are very large populations of the high-grade coins
              and/or the “certification” is commonly duplicated with minor expense;
           g) Claiming a volatile market based upon the spot price of gold yet selling bullion coins
              at such exorbitant and fraudulent prices to make “market price” nothing but a
              gimmick;
           h) Misrepresenting the value of numismatic coins;
           i) Using various companies as intermediaries to drive the price of the coin to fraudulent
              levels;
           j) Failing to display, disclose, or file required information regarding telephone
              solicitations; and,
           k) various other acts and practices that may be uncovered during discovery.


11.      Jimmy and Vincenta Norris were an elderly couple in their late 70s when, beginning it May

2017, they were enticed by the Defendants to purchase coins. They confessed to the Defendants

that they knew nothing about precious metals or numismatics. Over the next approximately two

(2) years, the Defendants engaged in numerous personal conversations to learn more of their

interests and establish a rapport; thus, began the financial exploitation of the elderly Norris

3
    Id. at 17.
                                                    6
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couple that can only be described as a cruel form of elder abuse. Defendants were very effective

in targeting and inducing the elderly Norris couple to “invest” a sizeable portion of their life

savings in over-priced coins. Defendants mislead the elderly Norris couple and enticed them into

believing the “historical coins” “certified coins” and “graded modern bullion” 4 were a sound

investment, that they were getting “good deals,” the coins would retain their value, and that the

coins were unique and/or rare. Defendants failed to advise the elderly Norris couple that they

were paying substantially more than the fair market price of for the coins, and incurring

immediate and substantial losses with each transaction. Over the course of two years, involving

nineteen (19) transactions, Defendants convinced the elderly Norris couple to purchase coins in

the amount of at least One Hundred Fifty-five Thousand, Seven Hundred Thirty-five and 00/100

Dollars ($155,735.00). Those purchases were for grossly overpriced coins that resulted in a loss

of One Hundred Two Thousand, Six Hundred Ninety-five and 00/100 Dollars ($102,695.00), to

wit:

      11.1     On 5/30/2017, Defendants convinced Plaintiffs through misrepresentations as to the

               value and quality of the coins to purchase Five (5) 1986 $1 Silver American Eagles

               MS69 for $1,450.00 as a sound and safe investment. The fair market value of the

               coins was just $200.00, resulting in an immediate and unconscionable monetary loss

               to Plaintiff of $1,250.00, with a markup of 625%, an amount that is fraudulent.



4
    The coin’s grade is a numerical value, commonly referred to as the Sheldon scale that ranges between 1 and 70.
    The most valuable coins are uncirculated coins, commonly referred to as mint state (MS) and designated with
    grades from 60 to 70. Thus, a coin with a grade MS-70 is a perfect coin in original, uncirculated condition. PF-
    70, also PR-70, is a reference to “Proof 70”, is another term to signify the coin has flawless characteristics but that
    the mint was intended for collectors. It is not a higher grade than MS-70 (Mint State 70), which is the highest
    grade for general circulation. The numerical grade is assigned based on a number of attributes, such as luster (i.e.
    shininess), strike (i.e. how well the mint connected with the blank coin in manufacturing), and color (i.e. the dye
    variations used in striking the coin). The grades are assigned for a nominal fee by independent grading services.
    The industry considers the premier professional grading services to be Numismatic Guaranty Corporation (NGC)
    and Professional Coin Grading Services (PCGS).
                                                             7
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11.2   On 5/30/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Ten (10) 1986 $1 Silver American Eagles

       MS69 for $2,900.00 as a sound and safe investment. The fair market value of the

       coins was just $400.00, resulting in an immediate and unconscionable monetary loss

       to Plaintiff of $2,500.00, with a markup of 625%, an amount that is fraudulent.

11.3   On 5/30/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Five (5) 1986 $1 Silver American Eagles

       MS69 for $1,445.00 as a sound and safe investment. The fair market value of the

       coins was just $200.00, resulting in an immediate and unconscionable monetary loss

       to Plaintiff of $1,245.00, with a markup of 623%, an amount that is fraudulent.

11.4   On 9/27/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Two (2) 1986 $25 Gold American Eagles

       MS69 for $3,850.00 as a sound and safe investment. The fair market value of the

       coins was just $1450.00, resulting in an immediate and unconscionable monetary loss

       to Plaintiff of $2,400.00, with a markup of 166%, an amount that is fraudulent.

11.5   On 9/27/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Twenty (20) 1986 $1 Silver American

       Eagles MS69 for $5,800.00 as a sound and safe investment. The fair market value of

       the coins was just $800.00, resulting in an immediate and unconscionable monetary

       loss to Plaintiff of $5,000.00, with a markup of 625%, an amount that is fraudulent.

11.6   On 10/20/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Five (5) 2017 $25 Pallaidum american

       Eagle High Relief MS70 for $14,450.00 as a sound and safe investment. The fair
                                            8
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       market value of the coins was just $6,500.00, resulting in an immediate and

       unconscionable monetary loss to Plaintiff of $7,950.00, with a markup of 122%, an

       amount that is fraudulent.

11.7   On 12/21/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Twenty-Six (26) 1986 $1 Silver American

       Eagle MS69 for $6,760.00 as a sound and safe investment. The fair market value of

       the coins was just $1,040.00, resulting in an immediate and unconscionable monetary

       loss to Plaintiff of $5,720.00, with a markup of 550%, an amount that is fraudulent.

11.8   On 12/21/2017, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase a kit of twenty-two (22) Silver American

       Eagles MS69 with dates from 1987-2009 for $2,940.00 as a sound and safe

       investment. The fair market value of the coins was just $700.00, resulting in an

       immediate and unconscionable monetary loss to Plaintiff of $2,240.00, with a markup

       of 320%, an amount that is fraudulent.

11.9   On 2/2/2018, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase Five (5) 2018 $50 Gold Buffalo MS70 for

       $14,450.00 as a sound and safe investment. The fair market value of the coins was

       just $7,500.00, resulting in an immediate and unconscionable monetary loss to

       Plaintiff of $6,950.00, with a markup of 93%, an amount that is fraudulent.

11.10 On 2/16/2018, Defendants convinced Plaintiffs through misrepresentations as to the

       value and quality of the coins to purchase One (1) 1998 $25 Gold American Eagle

       MS70 for $7,500.00 as a sound and safe investment. The fair market value of the


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         coins was just $2,000.00, resulting in an immediate and unconscionable monetary

         loss to Plaintiff of $5,500.00, with a markup of 275%, an amount that is fraudulent.

  11.11 On 4/4/2018, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Twenty (20) 1986 $1 Gold American Eagle

         MS69 for $5,800.00 as a sound and safe investment. The fair market value of the

         coins was just $800.00, resulting in an immediate and unconscionable monetary loss

         to Plaintiff of $5,000.00, with a markup of 625%, an amount that is fraudulent.

  11.12 On 6/1/2018, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Twenty (20) $1 Morgan Silver Dollar-

         MS62 -Years of our Choice for $7,000.00 as a sound and safe investment. The fair

         market value of the coins was just $1,100.00, resulting in an immediate and

         unconscionable monetary loss to Plaintiff of $5,900.00, with a markup of 536%, an

         amount that is fraudulent.

  11.13 On 8/15/2018, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Twenty (20) 1986 $1 Silver American

         Eagle MS69 for $5,600.00 as a sound and safe investment. The fair market value of

         the coins was just $800.00, resulting in an immediate and unconscionable monetary

         loss to Plaintiff of $4,800.00, with a markup of 600%, an amount that is fraudulent.

  11.14 On 10/10/2018, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Ten (10) 1901-S $10 Coronet Liberty Gold-

         MS63 for $22,500.00 as a sound and safe investment. The fair market value of the

         coins was just $8,500.00, resulting in an immediate and unconscionable monetary

         loss to Plaintiff of $14,000.00, with a markup of 165%, an amount that is fraudulent.
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  11.15 On 11/30/2018, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Five (5) 2018 $25 Gold American Eagle -

         Gold Foil Label-DCOE Black Core          MS69 for $9,000.00 as a sound and safe

         investment. The fair market value of the coins was just $2,500.00, resulting in an

         immediate and unconscionable monetary loss to Plaintiff of $6,500.00, with a markup

         of 260%, an amount that is fraudulent.

  11.16 On 2/28/2019, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Ten (10) 2017 $1 Silver American Eagle

         Red White Blue Mint Release Series-MS69 for $3,900.00 as a sound and safe

         investment. The fair market value of the coins was just $400.00, resulting in an

         immediate and unconscionable monetary loss to Plaintiff of $3,500.00, with a markup

         of 875%, an amount that is fraudulent.

  11.17 On 3/19/2019, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase Ten (10) 2000 $1 Silver American Eagle

         MS69 for $3,900.00 as a sound and safe investment. The fair market value of the

         coins was just $350.00, resulting in an immediate and unconscionable monetary loss

         to Plaintiff of $3,550.00, with a markup of 1014%, an amount that is fraudulent.

  11.18 On 5/3/2019, Defendants convinced Plaintiffs through misrepresentations as to the

         value and quality of the coins to purchase One (1) 1986-2019 Silver American Eagle

         MS69 (24 coins) for $3,490.00 as a sound and safe investment. The fair market value

         of the coins was just $800.00, resulting in an immediate and unconscionable

         monetary loss to Plaintiff of $2,690.00, with a markup of 336%, an amount that is

         fraudulent.
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       11.19 On 6/26/2019, Defendants convinced Plaintiffs through misrepresentations as to the

                value and quality of the coins to purchase Ten (10) 1908 Gold $20 No Motto

                St.Gaudens MS64 for $33,000.00 as a sound and safe investment. The fair market

                value of the coins was just $17,000.00, resulting in an immediate and unconscionable

                monetary loss to Plaintiff of $16,000.00, with a markup of 94%, an amount that is

15.        Once Defendants convinced NORRIS to purchase the above-listed coins 5 using the

interstate wires, NORRIS used the interstate wires and/or postal service to transfer funds directly

to USPM and/or SCI to pay for the coins.                         The Defendants then sent the fraudulently

misrepresented coins, along with sales receipts, to NORRIS in Missouri via the interstate mails

or private interstate carriers. Thus, for each coin purchase, NORRIS received a sales receipt from

the Defendants “after the fact;” meaning, after—not before—he paid for each coin purchase, he

received a sales receipt from Defendants listing the coins he purchased.                            Plaintiff utilized

interstate phone and wire services to confirm the transactions on the coin purchases listed above.

The Defendants routinely used the United States Postal Service and other interstate delivery

services to deliver the coins and consummate the fraudulent activity.

16.        In July 2019, Jimmy E, Norris died at the age of 82 and his son Charles Norris was

appointed the personal representative of the estate. In early 2020, Charles Norris was preparing

an evaluation of the estate and contacted the Defendants representative Matt Romero to seek a

return of the coins. Romero claimed that the coins were a great investment and that the Plaintiffs

should keep them for three to five years before the value will “double.” Charles Norris continued

to call Matt Romero and Adrian Miranda numerous times over the next several months. They

stalled and misdirected Charles Norris with numerous sales pitches. Finally, Charles Norris

5
    A tabulation of the fraudulent transactions by the Defendants is attached as Exhibit 1 to this Complaint.
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received a print out of “values” of the coins from Adrian Miranda, so he requested that

Defendants buy the coins back at their “valued” price. The Defendants continued to stall and

misdirect Charles Norris until he reasonably concluded that the Defendants would never buy the

coins back. Charles Norris then began to seek to sell them to other coin dealers and discovered

the that his parents may have been victimized by the Defendants.

16.        In Surprised at the initial evaluation, he had a subsequent appraisal performed by Paul

Montgomery, a professional numismatists and appraiser 6 determined that, at the moment The

elderly Norris couple purchased the coins, The elderly Norris couple incurred an immediate loss

of One Hundred Two Thousand, Six Hundred Ninety-five and 00/100 Dollars ($102,695.00).

Contrary to what the elderly Norris couple were led to believe by Defendants’ representations,

the actual value of the coins on the day of purchase was only Fifty-Thee Thousand Forty and 00/100

Dollars ($53,040.00). The Defendants sold coins to the elderly Norris couple that were routinely

over 500% markup, and some over 1000% markup, well above the “fraud” line established by the

Texas Attorney General.7 The widow Vincenta Norris couple will never recover their initial

investment, much less realize any profit. The elderly Norris couple incurred actual damages of

One Hundred Fifty-five Thousand, Seven Hundred Thirty-five and 00/100 Dollars

($155,735.00); and, consequential damages of approximately Eight Thousand, Five Hundred

Fifty-two and 33/100 Dollars ($8,552.33) in market gains. 8 The above-listed coins were not

worth the prices the elderly Norris couple paid for them when they were purchased, and they


6
    Paul Montgomery is a nationally recognized expert utilized by numerous Federal and State agencies. Montgomery
    is a retained expert in this case.
7
    The Texas Attorney General established guidelines indicating gold coin selling for over 100% markups are
    fraudulent. See the Texas Attorney General Gold Coins Fact Sheet Advisory, April 2017
    https://www.texasattorneygeneral.gov/files/cpd/17084_gold-coins_factsheet.pdf
8
    Attached as Exhibit 2 is a tabulation of the consequential damages calculated as the losses incurred by The elderly
    Norris couple by taking the difference between the value of the bullion coins (spot price) when purchased and the
    value of the bullion coins (spot price) as of June 16, 2020.
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have not attained such value to date nor provided the safe haven or return on investment as

promised by Defendants.

17.     Defendants and their employees utilized unlawful, false, misleading and unconscionable

high-pressure sales tactics to convince the elderly Norris couple to purchase the grossly

overvalued coins by, inter alia, knowingly, intentionally and falsely representing:

      (a)   the current value of the coins with full knowledge that the coins were not worth the
            value at which they were purchased and will never provide the return of investment as
            represented;
      (b)   Failing to disclose that the fair market value of the “certified coins” was substantially
            less than the amount paid;
      (c)   Misleading the elderly Norris couple into believing that Defendants wanted to assist
            them in making sound investments;
      (d)   Misleading the elderly Norris couple as to the performance of “certified” bullion
            coins; and,
      (e)   Misrepresenting attributes of graded bullion (“certified coins”) to move the elderly
            Norris couple from bullion to the over-price coins;
      (f)   Misrepresenting qualities of the coins with promises that the investment in certified
            coins will substantially appreciate;
      (g)   Advising the elderly Norris couple to purchase unique bullion coins, when the coins
            are not unique;
      (h)   Misrepresenting to customers that “certified coins” will outperform other types of
            investments—without any specific underlying data supporting such assertions;
      (i)   Using grading and marketing to deceptively sell bullion as some type of “modern
            numismatics,” even though there are very large populations of the high-grade coins
            and/or the “certification” is commonly duplicated with minor expense;
      (j)   Misrepresenting the market value of “certified coins” on their website to prevent or
            delay consumers from determining the actual market price of bullion coins.
      (k)   Misrepresenting the value of numismatic coins;
      (l)   Misrepresenting the fair market value of its proof and commemorative coins the
            prices are significantly higher than bullion coins containing the same amount of gold.


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      (m) Misrepresenting the market value of coins when, in fact, the Defendants’ market
          represents nothing more than a Ponzi scheme where the Defendants must continue to
          get more fraudulent and higher prices to support their own claims of rising values to
          convince prospective customers of returns on investments when such returns are
          illusory;
      (n)   Using various related companies as intermediaries to drive the price of the coin to
            fraudulent levels;
      (o)   Misrepresenting market value based not on independent reliable sources but based
            upon prices obtained through their fraudulent sales tactics;
      (p)   Failing to display, disclose, or file required information under the Texas Telephone
            Solicitation Act regarding telephone solicitations; and,
      (q)   Performing other acts of deception, fraudulent business practices                and
            misrepresentation that may be discovered during the course of this litigation.
18.    The sales of over-priced coins to the elderly Norris couple are neither isolated incidents

nor unique to the elderly Norris couple. Using these fraudulent tactics, these Defendants have

sold millions of dollars of over-priced coins to thousands of other consumers for over ten years,

indicating a continuing open-ended scheme and pattern of fraudulent conduct. On information

and belief, these customers individuals live in other states where defendants must use the

interstate mail and wires to perpetrate these frauds as part of the routine course of USPM (RICO

enterprise), SCI (RICO enterprise), and the RICO-AIF businesses.

19.    As a direct and/or proximate result of Defendants’ above wrongful acts and practices, the

widow Vincenta Norris suffered (and continues to suffer) substantial economic damages, which

Defendants refuse to remedy. This case has resulted.

                        CLAIMS FOR RELIEF/CAUSES OF ACTION

                                          COUNT I
                            MAIL FRAUD AND WIRE FRAUD
               A Pattern of Unlawful Activity Under 18 U.S.C. § 1961, Et Seq.
                            (as against RICO Defendant CAMP)


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20.    The preceding factual statements and allegations are incorporated by reference.

21.    By engaging in the above-described open-ended scheme to defraud the elderly Norris

couple—that also was a consistent, regular and dominant part of the manner in which the RICO

Defendant Nathan Camp (“Camp”) participated in and conducted the day-to-day business affairs

of the RICO Enterprises and RICO-AIF Enterprise — the Defendants instigated, perpetrated and

executed a scheme to defraud the elderly Norris couple; to wit, the RICO Defendant CAMP,

individually or in concert, and by or through representatives and employees of the RICO

Enterprises (USPM and/or SCI) and the RICO-AIF, engaged in repeated and systematic mail

fraud and wire fraud (as described above) in violation of 18 U.S.C. §§ 1341; 1343 that generated

multiple and repeated unlawful coin sales to the elderly Norris couple (as described above) that,

in turn, generated exorbitant compensation for them. The RICO Defendant caused the RICO and

RICO-AIF enterprises to use the interstate mails and wires to repeatedly make and/or send

fraudulent solicitations, sales receipts and/or purchase confirmations to the elderly Norris couple

for the above-described coin transactions. As such, the RICO Defendant conducted and/or

participated in the business and financial affairs of the RICO and RICO-AIF Enterprises through

a pattern of racketeering activity (to wit, repeated and systematic mail fraud and wire fraud in

violation of 18 U.S.C. §§ 1341; 1343) (as described above) that generated multiple and repeated

unlawful coin sales to the elderly Norris couple that, in turn, generated exorbitant compensation

for them. The RICO Defendant committed these substantive RICO offenses, all the while

knowing about, and agreeing to, the overall objective of the fraud—generating exorbitant

compensation for himself. By his unlawful actions, therefore, he (i) conducted and/or

participated in the affairs of USPM and/or SCI (in violation of 18 U.S.C. § 1962(c)) and/or (ii)

conspired with others (the identities of whom are only known by them at this stage in the

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litigation) to violate 18 U.S.C. § 1962(b); (c) (in violation of 18 U.S.C. §1962(d)), and defrauded

the elderly Norris couple(and possibly other customers) in the process.

22.    The RICO Defendant caused the RICO and RICO-AIF Enterprises to engage in this

fraudulent scheme with the intent, inter alia, to (i) shift the burden of proof to the elderly Norris

couple knowing they do not have unlimited resources and has limited knowledge, and (ii)

generate exorbitant compensation for himself. The RICO Defendant’s wrongful actions and

fraudulent scheme constitute mail fraud and wire fraud in violation of 18 U.S.C. §§ 1341; 1343.

23.    The multiple, repeated and continuous acts of mail fraud and/or wire fraud described in

Paragraphs 15 and 16 (above) constitute a pattern of unlawful activity under 18 U.S.C. §

1961(1); (5). Nothing about the RICO Defendant’s schemes to defraud the elderly Norris couple

indicated that the schemes would ever terminate. Moreover, and independent of the duration of

the scheme, his wrongful acts were a consistent, regular and dominant part of the manner in

which he participated in, conducted the day-to-day business and financial affairs of the RICO

Enterprises (USPM and/or SCI), and the RICO-AIF Enterprise.


                                          COUNT II
                              VIOLATION OF 18 U.S.C. § 1962(c)
                             (As Against RICO Defendant CAMP)

24.    The preceding factual statements and allegations are incorporated by reference.

25.    USPM and/or SCI are each an “enterprise” engaged in, and the activities of which

affected, interstate commerce within the meaning of 18 U.S.C. §§ 1961(4); 1962(c); 1962(d).

26.    USPM and SCI, together, form a “RICO Association-in-Fact Enterprise” engaged in, and

the activities of which affected, interstate commerce within the meaning of 18 U.S.C. §§

1961(4); 1962(c); 1962(d).
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27.    Nathan Camp (“Camp”) is a “person” within the meaning of 18 U.S.C. §§ 1961(3);

1962(c); 1962(d).

28.    Camp conducted and/or participated in the business and financial affairs of USPM (the

RICO Enterprise),and SCI (RICO Enterprise), and the RICO-AIF Enterprise through patterns of

unlawful activity within the meaning of 18 U.S.C. §§ 1961(1)(B); 1961(5); 1962(c); to wit, the

multiple, repeated and continuous acts of mail fraud and wire fraud, in violation of 18 U.S.C. §§

2; 1341; 1343, set forth above.

29.    The patterns of unlawful activity and corresponding violations of 18 U.S.C. § 1962(c)

(see Paragraphs 14-16, above) by Camp proximately and/or directly caused the elderly Norris

couple to suffer injury to their business and/or property within the meaning of 18 U.S.C. §

1964(c); to wit, the elderly Norris couple were damaged by, inter alia, the fraudulent and inflated

prices they paid for the above-listed coins, consequential damages related to the funds they used

to purchase the coins, and the corresponding mental anguish Vincenta Norris suffered. Camp

committed these substantive RICO offenses by using USPM (the RICO Enterprise), and/or SCI

(RICO Enterprise), and the RICO-AIF Enterprise to engage in multiple predicate acts of mail

fraud and wire fraud, all the while knowing about, and agreeing to, the overall objective of the

mail fraud—generating exorbitant compensation for himself. He knew his tactics and marketing

practices were misleading and unlawful and would cause the elderly Norris couple to suffer

damages that were reasonably foreseeable by them and/or anticipated as a substantial factor and

a natural consequence of their pattern of unlawful activity.

                                       COUNT III
                         VIOLATION OF 18 U.S.C. § 1962(d) BY
                      CONSPIRACY TO VIOLATE 18 U.S.C. § 1962(c)
                          (As Against RICO Defendants CAMP)

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30.    The preceding factual statements and allegations are incorporated by reference.

31.    USPM and SCI are each an “enterprise” that was engaged in, and the activities of which

affected, interstate commerce within the meaning of 18 U.S.C. §§ 1961(4); 1962(c); 1962(d).

32.    Collectively, USPM and SCI are a “RICO Association-in-Fact Enterprise” engaged in,

and the activities of which affected, interstate commerce within the meaning of 18 U.S.C. §§

1961(4); 1962(c); 1962(d).

33.    Nathan Camp (“Camp”) is a “person” within the meaning of 18 U.S.C. §§ 1961(3);

1962(c); 1962(d).

34.    Camp conspired with other persons (the identities of whom are only known by them at

this stage in the litigation) within the meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. §

1962(c); that is, they conspired to conduct and/or participate in the business and financial affairs

of USPM (the RICO Enterprise) and SCI (RICO Enterprise), and the RICO-AIF Enterprise

through a pattern of unlawful activity within the meaning of 18 U.S.C. §§ 1961(1)(c); 1961(5);

and 1962(c); to wit, the multiple, repeated and continuous acts of mail fraud and wire fraud, in

violation of 18 U.S.C. §§ 2; 1341; 1343, set forth above.

35.    RICO Defendant’s pattern of unlawful activity and corresponding violations of 18 U.S.C.

§ 1962(d) proximately and/or directly caused the elderly Norris couple to suffer injury to their

business and/or property within the meaning of 18 U.S.C. § 1964(c); to wit, the elderly Norris

couple was damaged by, inter alia, the fraudulent and inflated prices they paid for the above-

listed coins.   The RICO Defendant, through his representatives agreed to commit these

substantive RICO offenses by using the USPM (the RICO Enterprise) and/or SCI (RICO

Enterprise), and the RICO-AIF Enterprise, to engage in multiple predicate acts of mail fraud and

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wire fraud, all the while knowing about, and agreeing to, the overall objective of the mail

fraud—generating exorbitant compensation for himself. He knew his tactics and marketing

practices were misleading and unlawful and would cause the elderly Norris couple to suffer

damages that were reasonably foreseeable by him and/or anticipated as a substantial factor and a

natural consequence of his patterns of unlawful activity.

                                      COUNT IV
                               FRAUDULENT INDUCEMENT

36.    The preceding factual statements and allegations are incorporated herein by reference.

37.    Under Texas law, the essential elements of a cause of action for fraudulent inducement

are: (1) a material misrepresentation, (2) made with knowledge of its falsity or asserted without

knowledge of its truth, (3) made with the intention that it should be acted on by the other party,

(4) which the other party relied on and (5) which caused injury.

38.    Defendants, by and through the USPM and/or SCI salespersons, utilized one or more of

the above unlawful, false, misleading, and unconscionable sales tactics to fraudulently induce the

elderly Norris couple into the purchases of the over-priced coins. Specifically, Defendants, by

and through their employees intentionally and fraudulently induced the elderly Norris couple by:

misrepresenting material facts which Defendants knew were false at the time they were made

with the intent to induce the elderly Norris couple into purchasing the coins for the benefit of the

Defendants and at the expense of the elderly Norris couple; misrepresenting that the price paid

for the coins was a current fair value of the coins with full knowledge that the coins were not

worth a fraction of the value at which they were sold and purchased; misrepresenting that

historically the “investment grade” coins realize significant returns, which they do not;

misrepresenting that the “certification” adds a substantial value to the coins when it does not;

misrepresenting that it takes years for a return on investment of the “investment grade” coins to
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occur, when such return does not occur; misrepresenting that the elderly Norris couple will be

able to market their coins for a price similar to Defendants’ pricing, which they cannot ethically

do; and other misrepresentations that may be exposed during discovery. Defendants, by and

through their salespersons, made the above false representations to the elderly Norris couple with

the intent to induce the elderly Norris couple into entering the contracts to purchase the coins.

Plaintiffs relied upon these misrepresentations to make the initial purchases resulting in

substantial losses at the moment of sale.

39.    Defendants, by and through the USPM and/or SCI salespersons, continued their

fraudulent inducement after the original purchases by providing false and misleading sales

marketing data through their publications and verbal misrepresentations to continue to entice the

elderly Norris couple into buying coins with the intent to induce them into buying more over-

priced coins. Defendants made those representations with full knowledge that such

representations were false when made with the intent to induce the elderly Norris couple to

purchase the grossly overvalued coins which, in fact, they purchased to their financial detriment

and Defendants’ financial gain. As a direct and/or proximate result of Defendants’ false and

misleading representations about the overvalued coins, Plaintiffs suffered (and continues to

suffer) damages in the form of, inter alia, the amounts paid to Defendants for the bullion coins in

excess of their value and mental anguish damages.

40.    Defendants, by and through the USPM and/or SCI salespersons, committed the tort of

fraudulent inducement in their verbal sales pitches to the elderly Norris couple regarding

“certified coins” and numismatic coins; through the falsehoods, half-truths, and omissions in

their written promotions; and, through the errant and misleading website that published an

inaccurate and false representation of the market value of the coins. Moreover, Defendants’ false

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representations and/or omissions were made knowingly and intentionally or, at the very least, in

reckless disregard of Plaintiff’s rights and interests.

41.     Because Plaintiff justifiably relied upon Defendants’ material misrepresentations and

would never have entered into any contract with Defendants to purchase the coins at issue absent

those misrepresentations, Defendants’ wrongful actions constitute fraudulent inducement at

Texas common law.

                                    COUNT V
                     FRAUD AND/OR FRAUDULENT CONCEALMENT

42.     The preceding factual statements and allegations are incorporated herein by reference.

43.     In order to sell the overvalued coins to the elderly Norris couple, Defendants utilized one or

more of the above unlawful, false, misleading and unconscionable high-pressure sales tactics

typical of the precious metals/coins/bullion direct sales industry. Specifically, Defendants and

their employees falsely and/or misleadingly represented to the elderly Norris couple that they

were a preferred customer, the elderly Norris couple “needed the coins,” the elderly Norris

couple were “getting a good deal,” and the elderly Norris couple “would not lose any money” on

the purchases. Defendants and their employees also falsely represented the current value of the

coins with full knowledge that the coins were not worth the value at which they were purchased

nor will the coins attain the return of investment as promised.

44.     Defendants, by and through their salesmen, made the above false representations to the

elderly Norris couple with the intent that they rely upon them and with full knowledge that such

representations were false when made. The elderly Norris couple relied on Defendants’ material

and false representations when deciding to purchase the grossly overvalued coins which, in fact,

they purchased to their financial detriment and Defendants’ financial gain. As a direct and/or

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proximate result of Defendants’ false and misleading representations about the overvalued coins,

the elderly Norris couple suffered (and continue to suffer) damages in the form of, inter alia, the

amounts paid to Defendants for the gold coins in excess of their value, consequential damages and

mental anguish damages.

45.     By virtue of the confidential business relationship between Plaintiffs and Defendants,

Defendants had a duty to disclose the above concealed material facts to Plaintiffs.           Their

deliberate silence, when they had a duty to speak, and the resulting nondisclosure of the above

concealed material facts, is the equivalent of false representations and/or omissions. Such false

representations and/or omissions were made knowingly and intentionally or, at the very least, in

reckless disregard of Plaintiffs’ rights and interests.

46.     Plaintiff justifiably relied on Defendants’ false representations and/or omissions to theirs

financial detriment by purchasing the grossly overvalued coins. Defendants’ wrongful actions

constitute fraud at Texas common law.

47.     Defendants concealed their wrongful actions with the intent to mislead and defraud

Plaintiffs. Plaintiffs were not aware of, nor, through the exercise of due diligence, could have

become aware of Defendants’ wrongful actions until such wrongful actions brought to light by

third parties. Due to the Parties’ confidential business relationships, which were predicated on

their mutual trust and confidence, and Defendants’ superior knowledge and/or means of

knowledge, Defendants had a duty to disclose to Plaintiffs the above materially false

information. Defendants’ failure to do so constitutes fraudulent concealment at Texas common

law.




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                                           COUNT VI
                            NEGLIGENT MISREPRESENTATION

48.    The preceding factual statements and allegations are incorporated herein by reference.

49.    Defendants made certain representations to Plaintiffs in the course of their business and

in transactions in which Defendants had a substantial monetary interest.          Defendants also

supplied false information for the specific purpose of guiding Plaintiffs in their purchase of the

grossly overvalued coins.

50.    Defendants, however, failed to exercise reasonable care and competence in obtaining and

communicating such information to Plaintiffs by, inter alia, utilizing one or more of the above

unlawful, false, misleading and unconscionable sales tactics typical of the precious

metals/coins/bullion direct sales industry and/or making the above false and material

misrepresentations and omissions.

51.    The elderly Norris couple justifiably relied on Defendants’ negligent misrepresentations

when purchasing the grossly overvalued coins, which directly and/or proximately caused them to

suffer damages to the financial benefit of Defendants. The elderly Norris couple continued to

justifiably rely upon Defendants’ negligent misrepresentations in their oral representations, its

websites, and its various print advertisements regarding the grossly overvalued coins, which

directly and/or proximately caused them to suffer damages to the financial benefit of Defendants.

Defendants’ wrongful conduct constitutes negligent misrepresentation at Texas common law.


                                          COUNT VII
                                        NEGLIGENCE

52.    The preceding factual statements and allegations are incorporated herein by reference.


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53.    Defendants negligently valued, promoted, marketed, advertised and sold grossly

overvalued coins to Plaintiffs. In doing so, Defendants owed a duty to Plaintiffs to exercise

reasonable care in valuing, promoting, marketing, advertising and selling the coins. Defendants

breached their duty to Plaintiffs by failing to exercise reasonable care in valuing, promoting,

marketing, advertising and selling the coins to Plaintiffs. Defendants’ wrongful conduct directly

and/or proximately caused the elderly Norris couple to suffer damages. Defendants’ wrongful

conduct constitutes negligence at Texas common law.

                                 COUNT VIII
                     VIOLATIONS OF THE TEXAS DECEPTIVE
                 TRADE PRACTICES-CONSUMER PROTECTION ACT

54.    The preceding factual statements and allegations are incorporated herein by reference.

55.    Plaintiff Vincenta Norris is a “consumer” under the Texas Deceptive Trade Practices-

Consumer Protection Act (“DTPA”), pursuant to Section 17.45(4) of the Texas Business and

Commerce Code. Defendants are “persons” that may be sued under the DTPA, pursuant to

Section 17.45(3) of the Texas Business and Commerce Code.

56.    By their above wrongful acts and/or misrepresentations, Defendants engaged in false,

misleading and deceptive acts and practices in violation of Sections 17.50(a)(1) and 17.46(b) of

the Texas Business and Commerce Code to wit, Defendants, inter alia: (i) represented that the

coins have value that they do not have and that significant investor and collector demand exists

for the coins that will cause them to appreciate in value, which does not exist and will not happen

(Section 17.46(b)(5)); (ii) represented that the coins are rare and/or unique and have substantial

desire to investors and collectors, which will cause the coins to appreciate significantly in the

future, which they are not (Section 17.46(b)(7)); and, (iii) failed to disclose the above


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information about the coins, which Defendants knew at the time of the transactions, with the

intent to induce Plaintiff Vincenta Norris to purchase the coins that Plaintiff would not have

purchased had Defendants disclosed such information (Section 17.46(b)(24)). Plaintiff Vincenta

Norris relied on Defendants’ misrepresentations and omissions in purchasing the coins to her

financial detriment.

57.    By their above wrongful acts and/or misrepresentations, Defendants also violated Section

17.50(a)(2) of the Texas Business and Commerce Code by breaching the implied and/or express

warranties they made to Plaintiff Vincenta Norris that the coins have value and that significant

investor and collector demand exists for the coins that will cause them to appreciate significantly

in value.

58.    By their above wrongful acts and/or misrepresentations, Defendants also violated Section

17.50(a)(3) of the Texas Business and Commerce Code by engaging in unconscionable actions

and/or an unconscionable course of action because such wrongful acts and practices took

advantage of Plaintiff Vincenta Norris’ lack of knowledge, ability, experience and/or capacity to

a grossly unfair degree to Plaintiff Vincenta Norris’ financial detriment.

59.    Plaintiff Vincenta Norris seeks damages for mental anguish and treble economic damages

under the Texas Business and Commerce Code, Sections Section 17.50(b)(1) because the

conduct of the Defendants was committed knowingly and intentionally.

60.    Defendants also violated the DTPA for failing to comply with Texas Business and

Commerce Code, Sections 302.101, 302.105, 302.151(11)-(16), 302.152, and 302.153(a).

Pursuant to Section 301.104, Plaintiff Vincenta Norris is entitled to damages “not be less than

the amount the consumer paid the person who sold the consumer goods or services through the

use of the telephone solicitor, plus reasonable attorney’s fees and court costs.” Accordingly,
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Plaintiff seeks recovery of One Hundred Fifty-five Thousand, Seven Hundred Thirty-five and

00/100 Dollars ($155,735.00), plus reasonable attorney’s fees, and court costs. Plaintiff seeks

treble damages pursuant to Section 302.303 and Section 17.50.

                                          COUNT IX
                                        CONSPIRACY

61.    The preceding factual statements and allegations are incorporated herein by reference.

62.    Defendants (and possibly others), either working together as a combined group or in sub-

combinations of two or more, affirmatively conspired to engage in the wrongful actions set forth

above. By doing so, Defendants conspired to accomplish an unlawful purpose or a lawful

purposed by an unlawful means. As such, Defendants conspired to commit the wrongful actions

outlined in Counts I-IV, above, all of which directly and proximately caused Plaintiffs to sustain

actual and consequential damages. Defendants’ wrongful actions constitute civil conspiracy at

Texas common law.

                                      COUNT X
                               MONEY HAD AND RECEIVED


63.    The preceding factual statements and allegations are incorporated by reference.

64.     By their above-described wrongful actions and/or inaction, Defendants hold money

obtained by a) the wrongfully charged and collected purchase prices paid by the elderly Norris

couple for the grossly overvalued coins misrepresented and sold to them by Defendants; and b)

coins impermissibly sold to third parties and the funds retained without payment to the elderly

Norris couple or replacement of their coins, that, in equity and good conscience, belongs to the

elderly Norris couple. Defendants, therefore, should be compelled to refund such wrongfully

charged and collected funds under the equitable doctrine of money had and received.

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                                           COUNT XI
                                   UNJUST ENRICHMENT

65.    The preceding factual statements and allegations are incorporated herein by reference.

66.    Defendants (and possibly other persons and entities, including Defendants’. employees)

have been unjustly enriched by (i) being paid an excessive value for coins that are not supported

by any reasonable valuation; (ii) using the fraudulently obtained revenues and profits paid by the

elderly Norris couple, and (iii) generating a return on the amounts described in (i) and (ii).

Accordingly, the elderly Norris couple seeks to impose a constructive trust over (and recover) all

amounts by which Defendants (and possibly other persons and entities, including Defendants’

employees) have been unjustly enriched.

                                           ALTER-EGO

67.    Based upon information and belief, Nathan Camp (“Camp”) uses various corporate forms

as alter-egos and as mere tools or business conduits to shield assets and thus cause a diminution

of available resources from which the elderly Norris couple may obtain satisfaction of the

damages directly and/or proximately caused by Defendants’ wrongful conduct. All of these

entities operate, directly or indirectly, under the same roof. These entities shared employees,

corporate leadership and were undercapitalized as they routinely sweep profits from the

operations of USPM and SCI.        Upon information and belief, there are undocumented funds

transfers between the corporations and/or partnerships; and there is an unclear allocation of profit

and losses between these entities. In short, the respective entities are substantially one and the

same with Camp; and, the relationship between them is an illegitimate use of corporate form:

                                  RESPONDEAT SUPERIOR

68.    The preceding factual statements and allegations are incorporated herein by reference.
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69.    Defendants also are liable for the above wrongful acts committed by their employees during

the course and scope of their employment by the Defendants; to wit, the employees’ wrongful

conduct was committed (i) within their general authority, (ii) in furtherance of Defendants’

business, and (iii) to accomplish the objective for which the employees were hired (i.e., selling

overvalued coins to customers like Plaintiffs)—all of which directly and/or proximately caused

Plaintiffs to suffer damages to the financial benefit of Defendants—under the doctrine of respondeat

superior.

                                     RELIEF REQUESTED

70.    The preceding factual statements and allegations are incorporated herein by reference.

71.    ACTUAL AND CONSEQUENTIAL DAMAGES. In the alternative, and as direct and proximate

result of Defendants’ wrongful conduct, Plaintiffs have suffered (and continues to suffer) damages

in the form of, inter alia, the amounts paid to Defendants for the precious metal coins in excess of

their value. Plaintiffs are entitled to recover consequential damages related to lost investments

when they were lured into purchasing the coins and the mental anguish they have suffered in

connection with these transactions—in an amount to be determined by the trier of fact. All

conditions precedent to Plaintiffs’ claims for relief have been performed and/or occurred.

72.    PUNITIVE DAMAGES. Defendants' wrongful actions (and failure to disclose such wrongful

actions) were committed intentionally, willfully, with malice and/or with conscious and/or reckless

disregard for Plaintiffs’ rights and interests. Accordingly, Plaintiffs are entitled to an award of

punitive damages against Defendants, both as punishment and to discourage such wrongful conduct

in the future. Punitive damages are not capped or limited because Defendants’ wrongful conduct

constitutes a felony under Section 32.46 and Chapter 31 of the Texas Penal Code. See Section


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41.008(c) of the Texas Civil Practice and Remedies Code. All conditions precedent to Plaintiffs’

claim for relief have been performed and/or occurred.

73.    TREBLE DAMAGES. Plaintiffs are entitled to treble damages for Defendants’ knowing,

willful and intentional wrongful conduct in violation of the RICO statute and the Texas DTPA,

under 18 U.S.C. § 1964 (c) and Section 17.50(b)(1) of the TEXAS BUSINESS             AND   COMMERCE

CODE. All conditions precedent to Plaintiffs’ claims for relief have been performed and/or

occurred.

74.    ATTORNEYS’ FEES, LITIGATION EXPENSES AND COSTS. Plaintiffs are entitled to recover

their reasonable and necessary attorneys' fees, litigation expenses and court costs in prosecuting this

action pursuant to, inter alia, Chapter 38 and/or Chapter 42 of the Texas Civil Practice and

Remedies Code and/or Section 17.50(d) of the Texas Business and Commerce Code.

               WHEREFORE, Plaintiffs request that upon final trial or hearing, judgment be

awarded against the Defendants, jointly and severally for:

       A. With respect to Counts I-III (violations of 18 U.S.C. § 1961, et seq.)—

               (1)   threefold the actual damages sustained by the elderly Norris couple with costs
                     of suit, attorneys’ fees, litigation expenses and court costs, all under 18 U.S.C.
                     § 1964(c), with pre- and post-judgment interest at the highest legal rates; and
               (2)   equitable relief, as may be appropriate, under 18 U.S.C. § 1964(a), including
                     an equitable accounting for all benefits, consideration and profits received,
                     directly or indirectly, including imposing a constructive trust, the voiding of
                     unlawful transfers, and the disgorgement of all ill-gotten gains and profits.


       B. With respect to Counts IV-XI:
               (1)   actual damages to be determined by the trier of fact;
               (2)   punitive damages;

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          (3)   treble damages;
          (4)   all amounts by which Defendants have been unjustly enriched;
          (5)   an equitable accounting for all benefits, consideration and profits received,
                directly or indirectly, by Defendants, including imposing a constructive trust,
                the voiding of unlawful transfers, and the disgorgement of all ill-gotten gains
                and profits;
          (6)   pre- and post-judgment interest at the highest legal rates;
          (7)   attorneys' fees and litigation expenses (investigative costs, deposition
                expenses, witness fees) incurred through the trial and any appeals of this case;
          (8)   costs of suit; and
          (9)   such other and further relief that the Court deems just and proper.

                                       Respectfully submitted,

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                                              VINCENTA NORRIS AND CHARLES D.
                                              NORRIS (PERSONAL REPRESETATIVE
                                              OF THE ESTATE OF JIMMY E. NORRIS)




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